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                                                              August 16, 2024

VIA ECF
Honorable Dora L. Irizarry., U.S.D.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

           Re:     Rutledge v. Schwartz Sladkus Reich Greenberg Atlas LLP, et al.
                   Case No. 1:24-cv-4188 (DLI)(CLP)

Dear Judge Carter:

       This firm represents Defendant Schwartz Sladkus Reich Greenberg Atlas LLP and Andrea
Trochez (the “Attorney Defendants”) in the above matter. We write with the consent of Plaintiff’s
counsel to respectfully request that the deadline for the Attorney Defendants to respond to the
Complaint be extended from August 19, 2024 to September 25, 2024.

        This would be the Attorney Defendants’ first extension of time to respond to the Complaint.
We are making the request because our office was just retained and we anticipate filing a
dispositive motion.

       There are currently no other deadlines scheduled in the case. In addition, none of the other
defendants have appeared and the docket indicates that no summons has been issued. 1

           We thank the Court for its consideration.

                                                     Very truly yours,
                                                     Kaufman Dolowich LLP




                                             By:
                                                     Adam M. Marshall, Esq.


cc:        All Counsel of Record via ECF

1
    The Attorney Defendants executed waivers of service. (ECF Doc. 7).
